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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

Mary Garcia                                         Case No.

         Plaintiff,

v.                                                     COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
Bay Area Credit Service, LLC                         PRACTICES ACT, THE TELEPHONE
                                                     CONSUMER PROTECTION ACT AND
         Defendant.                                     OTHER EQUITABLE RELIEF


                                                     JURY DEMAND ENDORSED HEREIN



                                                PARTIES

1. Plaintiff, Mary Garcia, (“Mary”), is a natural person who resided in Arlington, Texas, at all

     times relevant to this action.

2. Defendant, Bay Area Credit Service, LLC, (“BACS”), is a California Limited Liability

     Company that maintained its principal place of business in Atlanta, Georgia, at all times

     relevant to this action.

                                   JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq. and

     the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

5. BACS uses a predictive dialer system.




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6. Before BACS began contacting Mary, it and Mary had no prior business relationship and

   Mary had never provided express consent to BACS to be contacted on her cellular telephone.

7. BACS regularly uses instrumentalities of interstate commerce and the mails to collect

   consumer debts owed or due or asserted to be owed or due another.

8. The principal source of BACS’s revenue is debt collection.

9. BACS is a "debt collector” as defined by 15 U.S.C. §1692a(6).

10. As described, infra, BACS contacted Mary to collect a debt that was incurred primarily for

   personal, family, or household purposes.

11. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

12. Mary is a “consumer” as defined by 15 U.S.C. §1692a(3).

13. 	  On several occasions, the dates of which will be discovered through discovery, BACS

   willingly and knowingly used an automatic telephone dialing system to call Mary on her

   cellular phone multiple times in violation of the TCPA.

14. Around September 2014, BACS contacted Mary on Mary’s cellular telephone in connection

   with the collection of the debt.

15. Around September 2014, Mary communicated her desire that BACS cease contacting her.

16. Despite being notified of this desire, the debt collector continued to call Mary on Mary’s

   cellular telephone in connection with the collection of the debt.

17. On more than one occasion, Mary communicated her desire that BACS cease calling her.

18. BACS caused Mary emotional distress.

19. BACS attempted to collect a debt from Mary.




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                                          COUNT ONE

                        Violation of the Fair Debt Collection Practices Act

20. Plaintiff re-alleges and incorporates by reference Paragraphs 14 through 19 above as if fully

   set forth herein.

21. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

                                          COUNT TWO

                        Violation of the Fair Debt Collection Practices Act

22. Plaintiff re-alleges and incorporates by reference Paragraphs 14 through 19 above as if fully

   set forth herein.

23. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                        COUNT THREE

                        Violation of the Fair Debt Collection Practices Act

24. Plaintiff re-alleges and incorporates by reference Paragraphs 14 through 19 above as if fully

   set forth herein.

25. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

   debt.

                                           COUNT FOUR

                       Violations of the Telephone Consumer Protection Act

26. Plaintiff re-alleges and incorporates by reference Paragraphs 14 through 19 above as if fully

   set forth herein.




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27. Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) on multiple and

    separate occasions by each time calling Plaintiff’s cellular telephone using an automatic

    telephone dialing system without Plaintiff’s prior express consent.

                                          JURY DEMAND

28. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

29. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. An order enjoining Defendant from placing further telephone calls to Plaintiff’s

                cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

            c. Judgment against Defendant for statutory damages pursuant to 47 U.S.C. §

                227(b)(3) for each and every call Defendant made in violation of the TCPA.

            d. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Hyslip & Taylor, LLC LPA


                                                By:    /s/ Robert C. Newark, III
                                                One of Plaintiff’s Attorneys

Date: December 31, 2014

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